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12   Counter-Complainant YASIEL PUIG
13
                             UNITED STATES DISTRICT COURT
14
15                          CENTRAL DISTRICT OF CALIFORNIA

16                                WESTERN DIVISION
17
18 JANE ROE,                               CASE NO. 2:20-cv-11064-FMO-MRW
19             Plaintiff,                  DEFENDANT YASIEL PUIG’S
20                                         FIRST AMENDED ANSWER AND
         v.                                COUNTERCLAIMS AGAINST
21                                         PLAINTIFF JANE ROE FOR
22 YASIEL PUIG; and DOES 1-10,             DAMAGES
   inclusive,
23                                         DEMAND FOR JURY TRIAL
24             Defendants.
                                           Action Filed: Oct. 29, 2020
25                                         FAC Filed:    Dec. 30, 2020
26                                         Trial date:   May 3, 2022
27
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              YASIEL PUIG’S FIRST AMENDED ANSWER AND COUNTERCLAIMS
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 1        COMES NOW Defendant YASIEL PUIG (“PUIG”) who amends his answer and
 2 counterclaims to Plaintiff JANE ROE’s First Amended Complaint in Case No. 2:20-cv-
 3 11064-FMO-MRW as follows:
 4                                           ANSWER
 5        1.     In response to Paragraph 1 of the First Amended Complaint, PUIG lacks
 6   knowledge or information sufficient to form a belief about the truth of the allegations
 7   contained therein, and therefore denies them.
 8        2.     In response to Paragraph 2 of the First Amended Complaint, PUIG lacks
 9   knowledge or information sufficient to form a belief about the truth of the allegations
10   contained therein, and therefore denies them.
11        3.     In response to Paragraph 3 of the First Amended Complaint, PUIG lacks
12   knowledge or information sufficient to form a belief about the truth of the allegations
13   contained therein, and therefore denies them.
14        4.     In response to Paragraph 4 of the First Amended Complaint, PUIG denies
15   the allegations.
16        5.     In response to Paragraph 5 of the First Amended Complaint, PUIG admits
17   that he was in Los Angeles County on October 31, 2018. PUIG denies the remaining
18   allegations therein, including any assertion that he caused Plaintiff any injuries.
19        6.     In response to Paragraph 6 of the First Amended Complaint, PUIG denies
20   that the “events as alleged” in the First Amended Complaint occurred. With respect to
21   the remainder of the allegations contained therein, PUIG lacks knowledge or information
22   sufficient to form a belief about the truth of those allegations and therefore denies them.
23                          ANSWER TO FIRST CAUSE OF ACTION
24                      Alleged Assault and Battery / Alleged Sexual Battery
25        7.     In response to Paragraph 7 of the First Amended Complaint, PUIG
26   incorporates by reference each and every admission, denial, and allegation contained in
27   Paragraphs 1-6 contained herein.
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                YASIEL PUIG’S FIRST AMENDED ANSWER AND COUNTERCLAIMS
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 1        8.     In response to Paragraph 8 of the First Amended Complaint, PUIG denies
 2   the allegations therein.
 3        9.     In response to Paragraph 9 of the First Amended Complaint, PUIG denies
 4   the allegations therein.
 5        10.    In response to Paragraph 10 of the First Amended Complaint, PUIG admits
 6   that he was in Los Angeles County on October 31, 2018. He denies all remaining
 7   allegations contained therein.
 8        11.    In response to Paragraph 11 of the First Amended Complaint, PUIG denies
 9   the allegations that refer or relate to him. With respect to the remainder of the allegations
10   contained therein, PUIG lacks knowledge or information sufficient to form a belief
11   about the truth of those allegations and therefore denies them.
12        12.    In response to Paragraph 12 of the First Amended Complaint, PUIG denies
13   the allegations that refer or relate to him. With respect to the remainder of the allegations
14   contained therein, PUIG lacks knowledge or information sufficient to form a belief
15   about the truth of those allegations and therefore denies them.
16        13.    In response to Paragraph 13 of the First Amended Complaint, PUIG denies
17   the allegations that refer or relate to him. With respect to the remainder of the allegations
18   contained therein, PUIG lacks knowledge or information sufficient to form a belief
19   about the truth of those allegations and therefore denies them.
20        14.    In response to Paragraph 14 of the First Amended Complaint, PUIG denies
21   the allegations that refer or relate to him. With respect to the remainder of the allegations
22   contained therein, PUIG lacks knowledge or information sufficient to form a belief
23   about the truth of those allegations and therefore denies them.
24        15.    In response to Paragraph 15 of the First Amended Complaint, PUIG denies
25   the allegations that refer or relate to him. With respect to the remainder of the allegations
26   contained therein, PUIG lacks knowledge or information sufficient to form a belief
27   about the truth of those allegations and therefore denies them.
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                YASIEL PUIG’S FIRST AMENDED ANSWER AND COUNTERCLAIMS
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 1        16.    In response to Paragraph 16 of the First Amended Complaint, PUIG denies
 2   the allegations that refer or relate to him. With respect to the remainder of the allegations
 3   contained therein, PUIG lacks knowledge or information sufficient to form a belief
 4   about the truth of those allegations and therefore denies them.
 5        17.    In response to Paragraph 17 of the First Amended Complaint, PUIG denies
 6   the allegations that refer or relate to him. With respect to the remainder of the allegations
 7   contained therein, PUIG lacks knowledge or information sufficient to form a belief
 8   about the truth of those allegations and therefore denies them.
 9        18.    In response to Paragraph 18 of the First Amended Complaint, PUIG denies
10   the allegations that refer or relate to him. With respect to the remainder of the allegations
11   contained therein, PUIG lacks knowledge or information sufficient to form a belief
12   about the truth of those allegations and therefore denies them.
13        19.    In response to Paragraph 19 of the First Amended Complaint, PUIG denies
14   the allegations that refer or relate to him. With respect to the remainder of the allegations
15   contained therein, PUIG lacks knowledge or information sufficient to form a belief
16   about the truth of those allegations and therefore denies them.
17        20.    In response to Paragraph 20 of the First Amended Complaint, PUIG denies
18   the allegations that refer or relate to him. With respect to the remainder of the allegations
19   contained therein, PUIG lacks knowledge or information sufficient to form a belief
20   about the truth of those allegations and therefore denies them.
21                          ANSWER TO SECOND CAUSE OF ACTION
22                        Alleged Intentional Infliction of Emotional Distress
23        21.    In response to Paragraph 21 of the First Amended Complaint, PUIG
24   incorporates by reference each and every admission, denial, and allegation contained in
25   Paragraphs 1-20 contained herein.
26        22.    In response to Paragraph 22 of the First Amended Complaint, PUIG denies
27   the allegations.
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                YASIEL PUIG’S FIRST AMENDED ANSWER AND COUNTERCLAIMS
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 1        23.    In response to Paragraph 23 of the First Amended Complaint, PUIG denies
 2   the allegations.
 3        24.    In response to Paragraph 24 of the First Amended Complaint, PUIG denies
 4   the allegations that refer or relate to him. With respect to the remainder of the allegations
 5   contained therein, PUIG lacks knowledge or information sufficient to form a belief
 6   about the truth of those allegations and therefore denies them.
 7        25.    In response to Paragraph 25 of the First Amended Complaint, PUIG denies
 8   the allegations that refer or relate to him. With respect to the remainder of the allegations
 9   contained therein, PUIG lacks knowledge or information sufficient to form a belief
10   about the truth of those allegations and therefore denies them.
11        26.    In response to Paragraph 26 of the First Amended Complaint, PUIG denies
12   the allegations that refer or relate to him. With respect to the remainder of the allegations
13   contained therein, PUIG lacks knowledge or information sufficient to form a belief
14   about the truth of those allegations and therefore denies them.
15        27.    In response to Paragraph 27 of the First Amended Complaint, PUIG denies
16   the allegations that refer or relate to him. With respect to the remainder of the allegations
17   contained therein, PUIG lacks knowledge or information sufficient to form a belief
18   about the truth of those allegations and therefore denies them.
19        28.    In response to Paragraph 28 of the First Amended Complaint, PUIG denies
20   the allegations that refer or relate to him. With respect to the remainder of the allegations
21   contained therein, PUIG lacks knowledge or information sufficient to form a belief
22   about the truth of those allegations and therefore denies them.
23        29.    In response to Paragraph 29 of the First Amended Complaint, PUIG denies
24   the allegations that refer or relate to him. With respect to the remainder of the allegations
25   contained therein, PUIG lacks knowledge or information sufficient to form a belief
26   about the truth of those allegations and therefore denies them.
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                YASIEL PUIG’S FIRST AMENDED ANSWER AND COUNTERCLAIMS
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 1                        ANSWER TO THIRD CAUSE OF ACTION
 2                                       Alleged Negligence
 3        30.    In response to Paragraph 30 of the First Amended Complaint, PUIG
 4   incorporates by reference each and every admission, denial, and allegation contained in
 5   Paragraphs 1-29 contained herein.
 6        31.    In response to Paragraph 31 of the First Amended Complaint, PUIG denies
 7   the allegations that refer or relate to him. With respect to the remainder of the allegations
 8   contained therein, PUIG lacks knowledge or information sufficient to form a belief
 9   about the truth of those allegations and therefore denies them.
10        32.    In response to Paragraph 32 of the First Amended Complaint, PUIG denies
11   the allegations that refer or relate to him. With respect to the remainder of the allegations
12   contained therein, PUIG lacks knowledge or information sufficient to form a belief
13   about the truth of those allegations and therefore denies them.
14        33.    In response to Paragraph 33 of the First Amended Complaint, PUIG denies
15   the allegations that refer or relate to him. With respect to the remainder of the allegations
16   contained therein, PUIG lacks knowledge or information sufficient to form a belief
17   about the truth of those allegations and therefore denies them.
18        34.    In response to Paragraph 34 of the First Amended Complaint, PUIG denies
19   the allegations that refer or relate to him. With respect to the remainder of the allegations
20   contained therein, PUIG lacks knowledge or information sufficient to form a belief
21   about the truth of those allegations and therefore denies them.
22                       ANSWER TO FOURTH CAUSE OF ACTION
23                                 Alleged False Imprisonment
24        35.    In response to Paragraph 35 of the First Amended Complaint, PUIG
25 incorporates by reference each and every admission, denial, and allegation contained in
26 Paragraphs 1-34 contained herein.
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                YASIEL PUIG’S FIRST AMENDED ANSWER AND COUNTERCLAIMS
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 1        36.    In response to Paragraph 36 of the First Amended Complaint, PUIG denies
 2   the allegations that refer or relate to him. With respect to the remainder of the allegations
 3   contained therein, PUIG lacks knowledge or information sufficient to form a belief
 4   about the truth of those allegations and therefore denies them.
 5        37.    In response to Paragraph 37 of the First Amended Complaint, PUIG denies
 6   the allegations that refer or relate to him. With respect to the remainder of the allegations
 7   contained therein, PUIG lacks knowledge or information sufficient to form a belief
 8   about the truth of those allegations and therefore denies them.
 9        38.    In response to Paragraph 38 of the First Amended Complaint, PUIG denies
10   the allegations that refer or relate to him. With respect to the remainder of the allegations
11   contained therein, PUIG lacks knowledge or information sufficient to form a belief
12   about the truth of those allegations and therefore denies them.
13        39.    In response to Paragraph 39 of the First Amended Complaint, PUIG denies
14   the allegations that refer or relate to him. With respect to the remainder of the allegations
15   contained therein, PUIG lacks knowledge or information sufficient to form a belief
16   about the truth of those allegations and therefore denies them.
17        40.    In response to Paragraph 40 of the First Amended Complaint, PUIG denies
18   the allegations that refer or relate to him. With respect to the remainder of the allegations
19   contained therein, PUIG lacks knowledge or information sufficient to form a belief
20   about the truth of those allegations and therefore denies them.
21        41.    In response to Paragraph 41 of the First Amended Complaint, PUIG denies
22   the allegations that refer or relate to him. With respect to the remainder of the allegations
23   contained therein, PUIG lacks knowledge or information sufficient to form a belief
24   about the truth of those allegations and therefore denies them.
25        42.    In response to Paragraph 42 of the First Amended Complaint, PUIG denies
26   the allegations that refer or relate to him. With respect to the remainder of the allegations
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                YASIEL PUIG’S FIRST AMENDED ANSWER AND COUNTERCLAIMS
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 1   contained therein, PUIG lacks knowledge or information sufficient to form a belief
 2   about the truth of those allegations and therefore denies them.
 3         43.    In response to Paragraph 43 of the First Amended Complaint, PUIG denies
 4   the allegations that refer or relate to him. With respect to the remainder of the allegations
 5   contained therein, PUIG lacks knowledge or information sufficient to form a belief
 6   about the truth of those allegations and therefore denies them.
 7         The remainder of the First Amended Complaint contains Plaintiff’s request for
 8   relief, to which no response is required. To the extent a response is required, Defendant
 9   denies that Plaintiff is entitled to the relief sought.
10         All allegations stated in the complaint that have not been specifically denied, that
11   require a response, and that are not otherwise expressly admitted herein, are hereby
12   expressly denied.
13                                  AFFIRMATIVE DEFENSES
14         PUIG states the following affirmative and other defenses to the First Amended
15 Complaint and reserves the right to raise additional affirmative defenses prior to or at the
16 time of trial. Further, by alleging these defenses, PUIG is not in any way agreeing or
17 conceding that he has the burden of proof or burden of persuasion that would otherwise
18 rest with Plaintiff.
19         As a separate affirmative defense to each alleged claim for relief of the First
20 Amended Complaint, PUIG alleges as follows:
21                              FIRST AFFIRMATIVE DEFENSE
22         1.     For a first and separate affirmative defense, PUIG alleges that: The First
23 Amended Complaint fails to state facts sufficient to constitute a cause of action against
24 PUIG.
25                            SECOND AFFIRMATIVE DEFENSE
26         2.     For a second and separate affirmative defense, PUIG alleges that: Plaintiff
27 has failed to state a claim upon which relief may be granted.
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                 YASIEL PUIG’S FIRST AMENDED ANSWER AND COUNTERCLAIMS
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 1                             THIRD AFFIRMATIVE DEFENSE
 2         3.    For a third and separate affirmative defense, PUIG alleges that: Plaintiff
 3 consented to each and every one of Defendant’s acts and or ratified his conduct as being
 4 consensual.
 5                           FOURTH AFFIRMATIVE DEFENSE
 6         4.    For a fourth and separate affirmative defense, PUIG alleges that: Any
 7 alleged tortious conduct by PUIG was induced by the Plaintiff’s own conduct.
 8                             FIFTH AFFIRMATIVE DEFENSE
 9         5.    For a fifth and separate affirmative defense, PUIG alleges that: Any alleged
10 tortious conduct by PUIG was the result of a reasonable but mistaken belief that his
11 conduct was justified.
12                             SIXTH AFFIRMATIVE DEFENSE
13         6.    For a sixth and separate affirmative defense, PUIG alleges that: Plaintiff’s
14 claim is barred by the doctrine of laches.
15                           SEVENTH AFFIRMATIVE DEFENSE
16         7.    For a seventh and separate affirmative defense, PUIG alleges that: Plaintiff’s
17 claims are barred by the equitable doctrine of unclean hands.
18                            EIGHTH AFFIRMATIVE DEFENSE
19         8.    For an eighth and separate affirmative defense, PUIG alleges that: Plaintiff
20 has suffered no harm or damages as the result of the acts and events alleged.
21                             NINTH AFFIRMATIVE DEFENSE
22         9.    For a ninth and separate affirmative defense, PUIG alleges that: Plaintiff has
23 failed to mitigate her damages.
24                            TENTH AFFIRMATIVE DEFENSE
25         10.   For a tenth and separate affirmative defense, PUIG alleges that: At all times
26 relevant to this litigation, PUIG acted in good faith and did not directly, or indirectly,
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                 YASIEL PUIG’S FIRST AMENDED ANSWER AND COUNTERCLAIMS
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 1 perform any acts which would constitute the breach of any duty towards Plaintiff or
 2 violate any rights that Plaintiff possessed.
 3                         ELEVENTH AFFIRMATIVE DEFENSE
 4        11.    For an eleventh and separate affirmative defense, PUIG alleges that: At all
 5 times relevant to this litigation, Plaintiff engaged in provocative acts, conduct, and/or
 6 words such that the conduct of PUIG relating to the Plaintiff was reasonable under the
 7 circumstances.
 8                          TWELFTH AFFIRMATIVE DEFENSE
 9        12.    For a twelfth and separate affirmative defense, PUIG alleges that: If any
10 damages were sustained by Plaintiff, which PUIG denies, said damages were proximately
11 caused by the negligence of Plaintiff and/or third parties other than PUIG and the liability
12 of all responsible parties, named or unnamed, should be apportioned according to their
13 relative degrees of fault.
14                        THIRTEENTH AFFIRMATIVE DEFENSE
15        13.    For a thirteenth and separate affirmative defense, PUIG alleges that: None of
16 the alleged acts or omissions of PUIG were, if they occurred, a substantial factor in
17 bringing about the alleged damages and losses alleged by Plaintiff and, therefore, were
18 not a contributing cause, but instead, were superseded by the acts and/or omissions of
19 Plaintiff and others which were independent, intervening, and proximate causes of the
20 damages and losses alleged by Plaintiff.
21                       FOURTEENTH AFFIRMATIVE DEFENSE
22        14.    For a fourteenth and separate affirmative defense, PUIG alleges that:
23 Plaintiff’s First Amended Complaint is frivolous and made in bad faith, thereby entitling
24 PUIG to all reasonable expenses incurred in the defense of this action, including
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                YASIEL PUIG’S FIRST AMENDED ANSWER AND COUNTERCLAIMS
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 1 attorney's fees and costs, from both Plaintiff and Plaintiff’s counsel, pursuant to Code of
 2 Civil Procedure section 128.5.
 3                         FIFTEENTH AFFIRMATIVE DEFENSE
 4         15.   For a fifteenth and separate affirmative defense, PUIG alleges that:
 5 Defendant is not legally responsible for the acts and/or omissions of those additional
 6 defendants named in the First Amended Complaint as DOE defendants.
 7                         SIXTEENTH AFFIRMATIVE DEFENSE
 8         16.   For a sixteenth and separate affirmative defense, PUIG alleges that: Plaintiff
 9 claims are barred by Plaintiff’s acts of fraud.
10                       SEVENTEENTH AFFIRMATIVE DEFENSE
11         17.   For a seventeenth and separate affirmative defense, PUIG alleges that:
12 Defendant has not acted with malice, reckless indifference or fraud toward Plaintiff and,
13 therefore, Defendant cannot be liable for punitive damages.
14                       EIGHTEENTH AFFIRMATIVE DEFENSE
15         18.   For an eighteenth and separate affirmative defense, PUIG reserves future
16 affirmative defenses where PUIG presently has insufficient knowledge or information on
17 which to form a belief as to whether he may have additional, as yet unstated defenses
18 available. He accordingly reserves the right to assert additional defenses that are revealed
19 by further investigation or discovery.
20                COUNTERCLAIMS AGAINST PLAINTIFF JANE ROE
21         Defendant and Counter-Complainant YASIEL PUIG (“PUIG”) brings these
22 counterclaims against Plaintiff and Counter-Defendant JANE ROE as follows:
23                                   NATURE OF ACTION
24         1.    PUIG brings these counterclaims against JANE ROE for defamation relating
25 to false statements made by JANE ROE, through her counsel of record, about PUIG in
26 interviews and/or press releases with local and national reporters.
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                 YASIEL PUIG’S FIRST AMENDED ANSWER AND COUNTERCLAIMS
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 1         2.    PUIG is a talented professional baseball player in the prime of his career. On
 2 November 2, 2020, JANE ROE deliberately and intentionally broadcast maliciously false
 3 statements about PUIG through a local news station, falsely claiming that PUIG had,
 4 among other things, sexually assaulted her in a crowded VIP section of the Staples Center
 5 after a Lakers game. Furthermore, during that same interview, JANE ROE’s counsel of
 6 record, on JANE ROE’s behalf, deliberately and intentionally broadcast maliciously false
 7 and defamatory statements about PUIG, claiming that she and/or JANE ROE had text
 8 messages from PUIG proving he committed sexual assault and that they had text
 9 messages wherein he admitted that “something happened.” In the context of the
10 interview, these statements were clearly intended to deceive the public into believing that
11 PUIG had admitted, in writing, to sexually assaulting JANE ROE. These statements by
12 JANE ROE and her counsel, on JANE ROE’s behalf, were knowingly false statements
13 and maliciously intended to support JANE ROE’s false allegations against PUIG, to
14 prejudice PUIG in these proceedings, and to impact PUIG’s livelihood, reputation, and
15 career. Indeed, PUIG did not sexually assault JANE ROE. Further, as JANE ROE and her
16 counsel know, no such text messages exist. PUIG is informed, believes, and on that basis
17 alleges that he has been unable to acquire a contract with a Major League Baseball team
18 because of these false statements. He now seeks compensation for the harm caused to
19 him.
20                                        THE PARTIES
21         3.    PUIG was, at all times relevant to this litigation, a resident of Miami-Dade
22 County, Florida.
23         4.    PUIG is informed, believes, and on that basis alleged that JANE ROE was,
24 at all times relevant to this litigation, a resident of Los Angeles County, California.
25                            JURISDICTIONAL ALLEGATIONS
26         5.    This counterclaim is timely brought pursuant to Fed. Rule Civ. Proc. 13 and
27 this court has supplemental jurisdiction over this counterclaim under 28 USC § 1367.
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                YASIEL PUIG’S FIRST AMENDED ANSWER AND COUNTERCLAIMS
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 1          6.      Jurisdiction in this court exists under 28 U.S.C. § 1332, because PUIG is a
 2 citizen of Florida, while JANE ROE is a citizen of California, and the matter in
 3 controversy exceeds $75,000. As set forth herein, JANE ROE’s false and defamatory
 4 statements have caused PUIG economic harm of at least $10 million, subject to proof at
 5 trial.
 6                                  FACTUAL BACKGROUND
 7          7.      PUIG is a professional baseball player.
 8          8.      In 2013, he made his Major League debut with the Los Angeles Dodgers,
 9 playing his first game on June 3, 2013. During that season, he took the sport by storm. In
10 his first month in the Major Leagues, he won both the National League Rookie of the
11 Month Award and the National League Player of the Month Award, the first time
12 someone had won both awards in their first month in major league history. He finished
13 that season batting .319 with 19 homeruns.
14          9.      In his six years in the Major Leagues, playing outfield for the Los Angeles
15 Dodgers, Cincinnati Reds, and Cleveland Indians, he has a lifetime batting average
16 of .277 with 132 home runs, 415 runs batted in, and 79 stolen bases. In 2019, he had an
17 outstanding statistical season, batting .297, with 24 home runs and 19 stolen bases.
18          10.     PUIG has also participated in charitable endeavors off the field.
19          11.     Despite these accomplishments and his talents, PUIG has not been able to
20 obtain a Major League contract for the 2021 season.
21          12.     PUIG is informed, believes, and on that basis alleges that the teams in Major
22 League Baseball will not offer him a contract because of the malicious false statements
23 made about him by JANE ROE.
24                JANE ROE INITIATES A SEXUAL ENCOUNTER WITH PUIG
25          13.     On October 31, 2018, PUIG attended a Lakers basketball game.
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                   YASIEL PUIG’S FIRST AMENDED ANSWER AND COUNTERCLAIMS
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 1        14.    JANE ROE was also at the game. At halftime and after the game concluded,
 2 PUIG went to the Chairman’s Room, a private section of the Staples Center, together
 3 with many other fans, including JANE ROE.
 4        15.    During and after the game, JANE ROE initiated communications with
 5 PUIG, both electronically and in person. She approached him, she messaged him on
 6 Instagram, sent him photos of herself, and sent him her phone number.
 7        16.    In the Chairman’s Room, JANE ROE approached PUIG’s table, sat down,
 8 and engaged him in conversation, touching and flirting with him. She then invited him to
 9 a bathroom near the door of the Chairman’s Room for a sexual encounter.
10        17.    PUIG agreed, went to the hall, and checked that the bathroom was empty.
11 JANE ROE followed a few seconds later and they entered the bathroom together. In the
12 bathroom, they had consensual sex, which she initiated. After the encounter, PUIG and
13 JANE ROE went back to the Chairman’s Room.
14        18.    After October 31, 2018, and over the course of the next four months, JANE
15 ROE continued to message PUIG by text message and Instagram.
16        19.    Although she now claims she was sexually assaulted, she did not make any
17 such claims on the night in question, never made such claims to him in the months that
18 followed, never contacted Staples Center security on that night or at any time thereafter,
19 and never contacted the police on the night in question or any time thereafter. However,
20 beginning in the summer of 2019, approximately eight months after the sexual encounter,
21 she began demanding money from PUIG.
22                         JANE ROE’S MESSAGES WITH PUIG
23        20.    On October 31, 2018, between 9:15 and 9:17 pm, JANE ROE sent PUIG
24 four messages over Instagram, including two photos or videos of herself, a heart emoji,
25 and her phone number.
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                YASIEL PUIG’S FIRST AMENDED ANSWER AND COUNTERCLAIMS
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 1        21.    On October 31, 2018 and November 1, 2018, PUIG sent JANE ROE several
 2 text messages expressing an interest in seeing her again. She responded, telling him the
 3 neighborhood she lived in and asking where PUIG was living.
 4        22.    On November 1, 2018, PUIG texted her that he was at a hotel in Studio City
 5 and asked her to meet him.
 6        23.    On November 2, 2018, he texted her again, stating that he was still at the
 7 hotel and proposing they get together. She responded: “I [am] working it out!! I didn’t
 8 forget about you[.]”
 9        24.    They also messaged over Instagram. On November 1, 2018, PUIG sent
10 JANE ROE a message on Instagram saying “Hey,” with a waving hand emoji.
11        25.    On November 3, 2018, JANE ROE sent PUIG an Instagram message with
12 another heart emoji.
13        26.    On November 21, 2018, PUIG messaged JANE ROE on Instagram, saying
14 “Hey you forget about me[?]”
15        27.    On November 22, 2018, JANE ROE responded to PUIG on Instagram by
16 “sharing her story” with him, sending him a photo or video of herself.
17        28.    On November 23, 2018, PUIG wrote to JANE ROE, “You [do] not have
18 time for me,” with a sad-face emoji.
19        29.    That same day, November 23, 2018, JANE ROE messaged PUIG again on
20 Instagram, asking “When do you come back?”
21        30.    PUIG messaged her three more times on the December 6, 2018 (“Hey how
22 you been”), February 1, 2019 (“Hola”), and February 9, 2019 (“Hey”).
23        31.    On February 18, 2019, JANE ROE contacted PUIG via text message, saying
24 “Where’d you go[?]”
25        32.    PUIG responded “Who is this[?]”
26        33.    JANE ROE identified herself in response, sending her name and two
27 descriptive emojis.
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                YASIEL PUIG’S FIRST AMENDED ANSWER AND COUNTERCLAIMS
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 1        34.    PUIG did not recognize her name and asked her “[ROE] from where[?]”
 2        35.    Apparently dissatisfied with PUIG’s response, JANE ROE did not respond.
 3        36.    Since that time, the two have not exchanged any further messages.
 4                                 THE KTLA INTERVIEW
 5        37.    On or about November 2, 2020, more than two years after the night of their
 6 encounter at Staples Center, JANE ROE contacted the television station KTLA, either on
 7 her own or through her counsel of record, and requested an interview. Later that day, she
 8 and her counsel of record participated in an interview with reporter Mary Beth McDade,
 9 with JANE ROE appearing by telephone and her counsel appearing in person.
10        38.    During that interview, JANE ROE made the following statements referring
11 to the night of October 31, 2018: “[PUIG] grabbed me and he was touching himself,
12 which (sic) he pulled himself really close to me and wouldn’t let me go . . . I walked into
13 the restroom and felt someone behind me, next thing I know the door was slammed. I
14 really had no way of getting out . . . He was just saying, like, come on baby, like weird
15 things like that. It was traumatic. It was very, very traumatic.” Then, JANE ROE’s
16 counsel of record, on JANE ROE’s behalf, claimed that they are in possession of text
17 messages proving PUIG sexually assaulted JANE ROE and that they are in possession of
18 text messages wherein PUIG admitted that “something happened,” thereby representing
19 there are text messages from PUIG wherein he admits he sexually assaulted JANE ROE.
20        39.    These statements about PUIG, including but not limited to that PUIG
21 sexually assaulted JANE ROE, that there are text messages proving PUIG sexually
22 assaulted JANE ROE, and that there are text messages wherein PUIG admitted to
23 sexually assaulting JANE ROE, were all knowingly false statements. Indeed, PUIG did
24 not sexually assault JANE ROE. Furthermore, it is indisputable that there are no text
25 messages from PUIG proving he sexually assaulted JANE ROE and there are no text
26 messages containing an admission that he sexually assaulted JANE ROE.
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 1         40.   PUIG is informed, believes, and on that basis alleges that these false
 2 statements, aired publicly on KTLA on November 2, 2020, were viewed by hundreds of
 3 thousands of people in the Los Angeles area. As of June 17, 2021, that report remains
 4 posted to the internet at: https://ktla.com/news/local-news/woman-accuses-former-
 5 dodgers-player-yasiel-puig-of-sexual-assault/.
 6                                  THE ESPN INTERVIEW
 7         41.   PUIG is informed, believes, and on that basis alleges that after the KTLA
 8 interview, and before March 11, 2021 (when the ESPN story referenced below appeared),
 9 JANE ROE met with reporters for ESPN.
10         42.   PUIG is informed, believes, and on that basis alleges that JANE ROE made
11 the following statements to ESPN: that PUIG physically restrained JANE ROE in the
12 bathroom of the Chairman’s Room, that he did so by pinning her with his forearm, that he
13 tried to take her clothes off, that he groped her, that he exposed himself to her and that he
14 masturbated in front of her.
15         43.   On Thursday, March 11, 2021, ESPN published an article entitled: “Sexual
16 assault allegations cloud Yasiel Puig's future in MLB” (available at:
17 https://www.espn.com/espn/print?id=31044776).
18         44.   JANE ROE’s statements about PUIG, their encounter on October 31, 2018,
19 and the existence of the text messages referenced herein, were knowingly false and
20 malicious.
21               STATEMENTS ISSUED IN THE CINCINNATI ENQUIRER
22         45.   PUIG is informed, believes, and on that basis alleges that, on or around
23 April 13, 2021, JANE ROE authorized her counsel to release a statement to the
24 Cincinnati Enquirer, which was later picked up by multiple other news outlets.
25         46.   PUIG is informed, believes, and on that basis alleges that JANE ROE,
26 through her counsel, made the following statements to the Cincinnati Enquirer: that
27 “After [PUIG] allegedly sexually assaulted [JANE ROE], he sent her at least 18 text
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 1 messages begging to see her. Fearful of a further attack or retribution by [PUIG], our
 2 client attempted to de-escalate his behavior by providing curt responses to the texts and
 3 later ignoring him. Our client did nothing to encourage this behavior. This is another
 4 event in a pattern of violent and brutish behavior by [PUIG], while attempting to breathe
 5 new life into his dying career.”
 6         47.   JANE ROE’s statements issued to the Cincinnati Enquirer as described
 7 above were knowingly false and malicious.
 8                              OTHER FALSE STATEMENTS
 9         48.   PUIG is informed, believes, and on that basis alleges that JANE ROE and/or
10 her counsel of record on her behalf, made the same, or substantially the same, false
11 statements relating to JANE ROE to other persons and entities, including to Major
12 League Baseball and its representatives, to Major League Baseball franchises and their
13 representatives, and to other third parties, all in an effort to prejudice and cause damage
14 to PUIG.
15               THE DAMAGE CAUSED BY THE FALSE STATEMENTS
16         49.   Prior to the November 2, 2020 interview with KTLA, MLB.com reported
17 that PUIG was ready to play and drawing interest by Major League Baseball teams. This
18 report is available online at https://www.mlb.com/news/yasiel-puig-ready-to-play-2021-
19 mlb-season. MLB.com further reported that “Multiple club executives believe that Puig
20 will land a Major League contract this winter, . . .”
21         50.   However, after JANE ROE’s interview with KTLA, that interest has
22 evaporated and PUIG did not receive any contract offers from any of the Major League
23 baseball teams. As ESPN reported in its aforementioned article, “A number of teams that
24 reportedly expressed interest in Puig this spring have factored the allegations into their
25 decisions. ‘Nobody wants the headache,’ the front-office source told ESPN.” (available at
26 https://www.espn.com/mlb/story/_/id/31044776/sexual-assault-allegations-cloud-yasiel-
27 puig-future-mlb).
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                 YASIEL PUIG’S FIRST AMENDED ANSWER AND COUNTERCLAIMS
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 1         51.   PUIG is informed, believes, and on that basis alleges that, if not for the false
 2 and defamatory statements made by JANE ROE and her counsel of record on JANE
 3 ROE’s behalf, in particular those involving sexual assault of JANE ROE and written
 4 proof of sexual assault and admissions of sexual assault of JANE ROE, PUIG would be
 5 under contract with a Major League Baseball team, earning a multi-million dollar salary,
 6 earning endorsement income, and earning income from personal appearances and
 7 speaking engagements.
 8         52.   These false and defamatory statements have caused PUIG monetary harm
 9 equal to his lost income that he would have earned from playing baseball, endorsements,
10 and personal appearances but for JANE ROE’s false and defamatory statements. This
11 amount is greater than the jurisdictional threshold. 28 U.S.C. § 1332. Based on PUIG’s
12 prior earnings and the likely contract he would have received, his monetary harm is at
13 least $10 million.
14         53.   In sum, the widely-published but untruthful statements, made by JANE ROE
15 and her counsel of record on her behalf, have brought PUIG’s career to a standstill and
16 caused him significant monetary harm.
17                                FIRST CLAIM FOR RELIEF
18                                     (Defamation Per Se)
19         54.   PUIG incorporates each and every preceding and succeeding paragraph of
20 his counterclaims as if fully set forth herein.
21         55.   PUIG alleges the following defamatory statements:
22               a.     JANE ROE stated to Mary Beth McDade and KTLA producers on
23 November 2, 2020 that PUIG sexually assaulted her;
24               b.     JANE ROE’s counsel of record, on JANE ROE’s behalf, represented
25 to Mary Beth McDade and KTLA on November 2, 2020 that JANE ROE has text
26 messages proving PUIG sexually assaulted JANE ROE; and
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                 YASIEL PUIG’S FIRST AMENDED ANSWER AND COUNTERCLAIMS
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 1               c.    JANE ROE’s counsel of record, on JANE ROE’s behalf, represented
 2 to Mary Beth McDade and KTLA on November 2, 2020 that JANE ROE has text
 3 messages wherein PUIG admitted “something happened,” and, in the context of the
 4 interview, that she claimed to have text messages wherein PUIG admitted to sexually
 5 assaulting JANE ROE.
 6        56.    These statements were made to Mary Beth McDade and KTLA producers,
 7 and were then broadcast on television and via the internet.
 8        57.    PUIG is informed, believes, and on that basis alleges that Mary Beth
 9 McDade and KTLA producers understood that these statements were about PUIG.
10        58.    PUIG is informed, believes, and on that basis alleges that Mary Beth
11 McDade and KTLA producers understood these statements to mean that PUIG sexually
12 assaulted JANE ROE, thereby committing a crime, JANE ROE had text messages
13 proving PUIG sexually assaulted JANE ROE and proving PUIG admitted to sexually
14 assaulting JANE ROE.
15        59.    These statements were false. PUIG did not sexually assault JANE ROE and
16 no such text messages exist.
17        60.    JANE ROE and her counsel of record knew that these statements were false
18 when made.
19        61.    PUIG has suffered harm to his reputation, profession, and occupation.
20        62.    These false statements were made with actual malice. Indeed, PUIG did not
21 sexually assault JANE ROE and the text messages proving sexual assault or an admission
22 of sexual assault of JANE ROE do not exist. Therefore, the statements were knowingly
23 false or, at a minimum, made with a reckless disregard for the truth.
24        63.    These statements are not privileged.
25        64.    These statements were a substantial factor in causing PUIG to suffer harm,
26 including loss of income and loss of reputation, as well as hatred, contempt, and ridicule.
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                YASIEL PUIG’S FIRST AMENDED ANSWER AND COUNTERCLAIMS
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 1         65.   PUIG seeks recovery of compensatory damages against JANE ROE for loss
 2 of income, loss wages, loss of reputation, shame, mortification, and expenses, in an
 3 amount to be determined at trial.
 4         66.   JANE ROE’s conduct, on her own behalf and through her counsel of record,
 5 including the knowingly false and defamatory statements that PUIG’s text message prove
 6 he committed a crime of sexual assault and that he made admissions of such acts, was
 7 intentional, willful, malicious, despicable, made in bad faith, with ill will towards PUIG,
 8 and in conscious disregard for PUIG’s rights. Therefore, PUIG seeks recovery of punitive
 9 damages against JANE ROE in an amount to be proven at trial.
10                              SECOND CLAIM FOR RELIEF
11                                   (Defamation Per Quod)
12         67.   PUIG incorporates each and every preceding and succeeding paragraph of
13 his counterclaims as if fully set forth herein.
14         68.   PUIG alleges the following defamatory statements:
15               a.     JANE ROE stated to Mary Beth McDade and KTLA producers on
16 November 2, 2020 that PUIG sexually assaulted her;
17               b.     JANE ROE’s counsel of record, on JANE ROE’s behalf, represented
18 to Mary Beth McDade and KTLA on November 2, 2020 that JANE ROE has text
19 messages proving PUIG sexually assaulted JANE ROE; and
20               c.     JANE ROE’s counsel of record, on JANE ROE’s behalf, represented
21 to Mary Beth McDade and KTLA on November 2, 2020 that JANE ROE has text
22 messages wherein PUIG admitted “something happened,” and, in the context of the
23 interview, that she claimed to have text messages wherein PUIG admitted to sexually
24 assaulting JANE ROE.
25         69.   These statements were made to Mary Beth McDade and KTLA producers,
26 and were then broadcast on television and via the internet.
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 1        70.    PUIG is informed, believes, and on that basis alleges that Mary Beth
 2 McDade and KTLA producers understood that these statements were about PUIG.
 3        71.    That because of the facts and circumstances known to the Mary Beth
 4 McDade, KTLA Producers, and the listeners and/or readers of the statements, JANE
 5 ROE and her counsel intended to injure PUIG in his occupation, to expose him to hatred,
 6 contempt, ridicule, or shame, or to discourage others from associating or dealing with
 7 him.
 8        72.    The statements by JANE ROE and her counsel of record, on JANE ROE’s
 9 behalf, regarding sexual assault of JANE ROE and text messages proving sexual assault
10 and admissions of sexual assault of Jane ROE, were false. PUIG did not sexually assault
11 JANE ROE and the referenced text messages do not exist.
12        73.    JANE ROE and her counsel of record knew that these statements were false
13 and made them with actual malice. Indeed, PUIG did not sexually assault JANE ROE and
14 the text messages proving sexual assault or an admission of sexual assault do not exist.
15 Therefore, the statements were knowingly false or, at a minimum, made with a reckless
16 disregard for the truth.
17        74.    These statements are not privileged.
18        75.    PUIG has suffered harm to his reputation, profession, and occupation.
19        76.    These statements were a substantial factor in causing PUIG to suffer harm,
20 including loss of income and loss of reputation, as well as hatred, contempt, and ridicule.
21        77.    PUIG seeks recovery of compensatory damages against JANE ROE for loss
22 of income, loss wages, loss of reputation, shame, mortification, and expenses, in an
23 amount to be determined at trial.
24        78.    JANE ROE’s conduct, on her own behalf and through her counsel of record,
25 including the knowingly false and defamatory statements that PUIG’s text message prove
26 he committed a crime of sexual assault and that he made admissions of such acts, was
27 intentional, willful, malicious, despicable, made in bad faith, with ill will towards PUIG,
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 1 and in conscious disregard for PUIG’s rights. Therefore, PUIG seeks recovery of punitive
 2 damages against JANE ROE in an amount to be proven at trial.
 3                                          PRAYER
 4         WHEREFORE, Defendant and Counter-Complainant YASIEL PUIG prays for
 5 judgment against Plaintiff JANE ROE as follows:
 6         1.    That JANE ROE take nothing from her First Amended Complaint;
 7         2.    That the Court enter judgment in favor of YASIEL PUIG and against JANE
 8 ROE on each and every claim in JANE ROE’s First Amended Complaint;
 9         3.    That the Court enter judgment in favor of YASIEL PUIG and against JANE
10 ROE on each and every claim in YASIEL PUIG’s Counter-Complaint;
11         4.    That YASIEL PUIG be awarded damages against JANE ROE for lost wages
12 in an amount according to proof at trial;
13         5.    That YASIEL PUIG be awarded damages against JANE ROE for lost
14 endorsement revenue in an amount according to proof at trial;
15         6.    That YASIEL PUIG be awarded damages for lost future public appearances
16 and speaking engagements in an amount according to proof at trial;
17         7.    That YASIEL PUIG be awarded punitive damages against JANE ROE in an
18 amount to be proven at trial for her willful, wanton, fraudulent, malicious and despicable
19 conduct;
20         8.    That YASIEL PUIG be awarded costs of suit; and
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                YASIEL PUIG’S FIRST AMENDED ANSWER AND COUNTERCLAIMS
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 1         9.   That YASIEL PUIG be awarded such other relief as this Court deems fair
 2 and just.
 3 Dated:       June 17, 2021            WERKSMAN, JACKSON, & QUINN LLP
 4
 5                                       By: /s/ Alan Jackson
 6                                         ALAN JACKSON
                                           Attorneys for Defendant and Counter-
 7
                                           Complainant YASIEL PUIG
 8 Dated:       June 17, 2021            DAILY ALJIAN LLP
 9
10
                                         By: /s/ Reed Aljian
11                                         Reed Aljian
12                                         Attorneys for Defendant and Counter-
                                           Complainant YASIEL PUIG
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 1                               DEMAND FOR JURY TRIAL
 2        Defendant and Counter-Complainant YASIEL PUIG hereby demands a trial by
 3 jury on all issues so triable pursuant to Federal Rules of Civil Procedure, Rule 38, and
 4 Central District of California Local Rules, Rule 38-1.
 5 Dated:        June 17, 2021              WERKSMAN, JACKSON, & QUINN LLP
 6
 7                                          By: /s/ Alan Jackson
 8                                            ALAN JACKSON
                                              Attorneys for Defendant and Counter-
 9
                                              Complainant YASIEL PUIG
10 Dated:        June 17, 2021              DAILY ALJIAN LLP
11
12
                                            By: /s/ Reed Aljian
13                                            Reed Aljian
14                                            Attorneys for Defendant and Counter-
                                              Complainant YASIEL PUIG
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 1                                 PROOF OF SERVICE

 2                         UNITED STATES DISTRICT COURT
 3                        CENTRAL DISTRICT OF CALIFORNIA

 4 CASE NAME:         JANE ROE v. YASIEL PUIG; and DOES 1-10, inclusive
 5
         I am employed in the City of Newport Beach, County of Orange, State of
 6 California. I am over the age of 18 years and not a party to the within action. My
 7 business address is 100 Bayview Circle, Suite 5500, Newport Beach, California 92660.
   On June 17, 2021, I caused the foregoing document(s) to be served on:
 8
 9         DEFENDANT YASIEL PUIG’S FIRST AMENDED ANSWER AND
       COUNTERCLAIMS AGAINST PLAINTIFF JANE ROE FOR DAMAGES;
10                             DEMAND FOR JURY TRIAL
11
   on the following parties:
12
13                           SEE ATTACHED SERVICE LIST

14 [X] (BY CM/ECF ELECTRONIC FILING) I caused such document(s) listed
15      above to be served through this Court’s electronic transmission facilities via
        the Notice of Electronic Filing (NEF) and hyperlink, to the parties and/or
16      counsel who are determined this date to be registered CM/ECF Users set
17      forth in the service list obtained from this Court on the Electronic Mail
        Notice List.
18
19 [X] (FEDERAL) I declare that I am employed in the office of a member of the bar of
        this court, at whose direction this service was made.
20
21      Executed on June 17, 2021, at Newport Beach, California.
22
23                                                 /s/ Courtney Dorner
                                                      Courtney Dorner
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               YASIEL PUIG’S FIRST AMENDED ANSWER AND COUNTERCLAIMS
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               YASIEL PUIG’S FIRST AMENDED ANSWER AND COUNTERCLAIMS
